                            UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ALABAMA
                                    WESTERN DIVISION


IN RE: BRENDA DELOIS ANDERSON                        )     CASE NO. 16-71980-JHH-13
                                                     )
                                                     )            CHAPTER 13 BANKRUPTCY
DEBTOR                                               )
                                                     )

                               NOTICE OF FINAL CURE PAYMENT

        Pursuant to Federal Bankruptcy Rule 3002.1(d), the Trustee filed Notice that the amount required to
cure the default in the below claim has been paid in full.

Name of Creditor: US BANK TRUST N.A.
Trustee Claim No.: 006A

Last four (4) digits of any number used to identify the Debtor’s account: 8590


Final Cure Amount:

        Amount of Allowed Pre-Petition Arrearage: $7,533.49

        Amount Paid By Trustee                             $7,533.49


Monthly Ongoing Mortgage Payment is Paid:

        ___ Through the Chapter 13 Trustee conduit             __x Direct by the Debtor


        Within 21 days of the service of this Notice, the creditor must file and serve same on the
Debtor, Debtor’s counsel and the Trustee, pursuant to Federal Bankruptcy Rule 3002.1(e), a
Statement indicating whether it agrees that the Debtor has paid in full the amount required to cure the
default and whether, consistent with Federal Bankruptcy Rule 1322(b)(5), the Debtor is otherwise
current on all the payments or be subject to further action of the Court including possible sanctions.


Dated: November 8, 2021                                  Respectfully Submitted:

                                                         /s/ C. DAVID COTTINGHAM
                                                         Standing Chapter 13 Trustee
                                    CERTIFICATE OF SERVICE

I hereby certify that on November 8, 2021, service of a true and complete copy of the above and foregoing
pleading or paper was made upon the following by depositing the same in the United States mail,
envelopes properly addressed to each of them and with sufficient first-class postage affixed.

Debtor
BRENDA DELOIS ANDERSON
990 S SCOTTSVILLE ROAD
BRENT, AL 35034

Debtor's Attorney –
BETTIS AND ASSOCIATES LLC
1320 22ND AVENUE
TUSCALOOSA, AL 35401

Creditor(s)-
US BANK TRUST N.A.
SN SERVICING CORPORATION
323 FIFTH STREET
EUREKA, CA 95501




                                                         /s/ C. DAVID COTTINGHAM
                                                         Standing Chapter 13 Trustee
